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NOT FOR PUBLICATION

                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                               CAMDEN VICINAGE
__________________________________
                                    :
IVAN D. FOSTER,                     :
                                    :
            Plaintiff,              :
                                    :      Civil No. 20-1905 (RBK/JS)
            v.                      :
                                    :      ORDER
DR. STEPHEN KLASKO, et al.,         :
                                    :
            Defendants.             :
__________________________________ :

KUGLER, United States District Judge:

       THIS MATTER coming before the Court upon pro se Plaintiff Ivan D. Foster’s Verified

Complaint (Doc. No. 1 (“Compl.”)) and application to proceed in forma pauperis (“IFP”) (Doc.

No. 1-1); and for the reasons set forth in the accompanying Opinion of this date

       IT IS HEREBY ORDERED that Plaintiff’s Complaint is DISMISSED pursuant to 28

U.S.C. § 1915(e)(2)(B)(ii); and the Clerk of Court shall close this case.



Dated: 02/26/2020                                            /s/ Robert B. Kugler
                                                             ROBERT B. KUGLER
                                                             United States District Judge




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